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UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF COLUMBIA

333 Constitution Avenue, NW
Washington, DC 20001-2866
Phone: 202-216-7000 | Facsimile: 202-219-8530

Plaintiff: MERCK & CO., INC., et al.,

Vs. Civil Action No. 1:19-cv-1738 (APM)

 

Defendant: U.S. DEP'T OF HHS, et al.,

 

CIVIL NOTICE OF APPEAL

Notice is hereby given this 21 day of _ August _ 2019, that
Defendants

hereby appealg to the United States Court of Appeals for the District of Columbia Circuit from the
judgment of this court entered onthe _8 dayof July 2919 jn

favor of Plaintiffs

against said Defendants

Attorney/Pro Se Party Signature: (| YA
mtheS hele

 

 

 

Washington, DC 20005

 

Telephone: (202 ) 305-0612

(Pursuant to Rule 4(a) of the Federal Rules of Appellate Procedure a notice of appeal in a civil
action must be filed within 30 days after the date of entry of judgment or 60 days if the United

States or officer or agency is a party)

USCA Form 13
Rev. June 2017
